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8                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9

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11   UNITED STATES OF AMERICA,     )
                                   )       CR. NO. S-05-238-FCD
12             Plaintiff,          )
                                   )
13             v.                  )
                                   )       STIPULATION AND ORDER
14   DALE C. SCHAFER,              )       REGARDING CONTINUANCE
     MARION P. FRY,                )       OF MOTIONS SCHEDULE
15                                 )
               Defendants.         )
16   ______________________________)

17        It is hereby stipulated and agreed, by and between the

18   Defendant Dale C. Schafer, by and through his counsel, J. Tony

19   Serra, and defendant Marion P. Fry, by and through her counsel,

20   Laurence J. Lichter, the United States, through its counsel,

21   Assistant United States Attorney Anne Pings, to vacate the

22   previously set hearing date of April 28, 2005 and re-set dates as

23   follows:

24        Govt. Reply on Motion to Disqualify Due            May 1, 2006

25        Hearing                                            May 8, 2006 at

26                                                           9:30 a.m.

27   //

28   //
          Case 2:05-cr-00238-MCE Document 101 Filed 04/24/06 Page 2 of 2


1         Defendant Fry's counsel, Mr. Lawrence J. Lichter, requested

2    this continuance on behalf of the defendants by communicating

3    directly with AUSA Matthew D. Segal.

4         The availability of the proposed date has been verified with

5    the Court's clerk.

6         The parties agree that time should be excluded under the Speedy

7    Trial Act given the pending motions.      18 U.S.C. § 3161(h)(1)(F).

8    DATED: April 21, 2006                 Respectfully submitted,

9                                          McGREGOR W. SCOTT
                                           United States Attorney
10
                                           /s/ Anne Pings
11
                                           ANNE PINGS
12                                         Assistant United States Attorney
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14
     /s/ Anne Pings                        /s/ Anne Pings
15
     For J. Tony Serra                     For Laurence J. Lichter
16   Counsel for Defendant Schafer         Counsel for Defendant Fry
     (With permission to AUSA Segal)       (With permission to AUSA Segal)
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          IT IS SO ORDERED.
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     Dated: April 24, 2006
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22
                                           /s/ Frank C. Damrell Jr.
23
                                           HON. FRANK C. DAMRELL, JR.
24                                         UNITED STATES DISTRICT JUDGE

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